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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-0381-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                        Defendants.


                         SECOND DECLARATION OF ALEX DOE

        I, Alex Doe, declare as follows:

        1.     I am a member of the CFPB RIF team. The statements made in this declaration are

based on my personal knowledge and statements made to me in the course of my duties.

        2.     I am submitting this declaration pseudonymously because I fear retaliation. But if

the Court would like to know my name, I would be willing to provide it ex parte and under seal.

        3.     Following my testimony at the hearing, the CFPB has excluded me from

participation in RIF team meetings.

        4.     However, other members of the RIF team have informed me about the RIF that just

occurred.

        5.     Because this RIF was even larger than the one that was previously going to take

place on February 14, the CFPB had to get another exception to the requirement of 90-day notice

from OPM. I expect that there is a memorandum, as well as emails and Teams messages about

that.

        6.     DOGE member Gavin Kliger managed the RIF. He kept the team up for 36 hours

straight to ensure that the notices would go out yesterday (April 17). Gavin was screaming at


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people he did not believe were working fast enough to ensure they could go out on this compressed

timeline, calling them incompetent.

   7. Team members raised the concern with Adam Martinez that there was a court order

requiring that they do a particularized assessment, but they were told that all that mattered was the

numbers. The direction to ignore the concern came from Mark Paoletta, who said that the numbers-

based RIF should move forward, and that leadership would assume the risk.

   8. I understand that Acting Director Russell Vought may have emailed Adam Martinez a

similar direction.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Executed on April 18, 2025, in Washington, D.C.

                                                              /s/ Alex Doe
                                                              Alex Doe




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